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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


MICHAEL ROBERTSON                                                                  PLAINTIFF

VS.                             NO.     4:20-CV-1259 LPR-PSH

LT. NICOLE NELSON, GREGORY BOLT,
and SGT. MURPHY                                                                  DEFENDANTS

                                            ANSWER

       Come now the Pulaski County Defendants, Lt. Nicole Nelson, Gregory Bolt, and Sgt.

Murphy, in their personal and official capacities, and for their Answer to Plaintiff’s Amended

Complaint (Doc. No. 4) state the following:

       1.      As pleaded, the allegations of the Amended Complaint are denied.

       2.      The Defendants assert and reserve the right to file an amended Answer or other

appropriate pleadings and to allege any affirmative defenses that might be available after a

reasonable opportunity to investigate the allegations set forth in Plaintiff’s Amended Complaint.

       3.      The Defendants specifically and expressly deny each and every allegation not

specifically and expressly admitted in this Answer.

       4.      The Defendants respectfully join Plaintiff’s trial by jury.

                                 AFFIRMATIVE DEFENSES

       5.      The Defendants assert the following affirmative defenses:

               A.     All applicable immunity, including, but not limited to (and only as

                      applicable), tort/negligence immunity, statutory tort/negligence immunity,

                      punitive damages immunity, and sovereign immunity;


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               B.      Qualified immunity (if individual capacity claim)

               C.      Justification;

               D.      Mootness;

               E.      The Plaintiff has failed to state a claim upon which relief can be granted;

               F.      Defendants avail themselves of all statute of limitations defenses applicable

                       to this claim;

               G.      Offset/Setoff;

               H.      All defenses under the Prison Litigation Reform Act (P.L.R.A), 42 U.S.C. §

                       1997e, including, but not limited to the requirement for proof of a physical

                       injury, the exhaustion of administrative remedies requirement, and the

                       limitations on attorneys’ fees; and

               I.      Common defense doctrine, as applicable.

       WHEREFORE, Defendants pray that the Plaintiff’s Amended Complaint be dismissed and

for any and all other just and proper relief to which she is entitled.

                                               Respectfully submitted,

                                               LT. NICOLE NELSON, GREGORY BOLT, and
                                               SGT. MURPHY, in their official capacities,
                                               Defendants

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2020, I presented the foregoing to the Clerk of the
Court for filing and uploading to the CM/ECF system, and I mailed the document by United States
Postal Service to the following non-CM/ECF participant:

Mr. Michael Robertson, Pro Se
c/o Pulaski County Jail
3201 W. Roosevelt Road
Little Rock, AR 72204
                                                     /s/Melissa K. Hollowell
                                               Melissa K. Hollowell, Bar No. 2017150
                                               Attorney for Pulaski County Defendants




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